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 1   Mary R. O’Grady, 011434
     Kristin L. Windtberg, 024804
 2   Joshua J. Messer, 035101
     OSBORN MALEDON, P.A.
 3
     2929 North Central Avenue, Suite 2100
 4   Phoenix, Arizona 85012-2793
     (602) 640-9000
 5   mogrady@omlaw.com
     kwindtberg@omlaw.com
 6   jmesser@omlaw.com
 7   Attorneys for Defendant Paul Penzone

 8                      IN THE UNITED STATES DISTRICT COURT

 9                            FOR THE DISTRICT OF ARIZONA

10   Manuel De Jesus Ortega Melendres, on          No. CV-07-2513-PHX-GMS
     behalf of himself and all others similarly
11   situated; et al.,
12                                                   DEFENDANT PAUL PENZONE’S
                           Plaintiffs,
                                                        APRIL 2023 NOTICE RE:
13    and                                           PSB STAFFING FUND PURSUANT
14                                                        TO PARAGRAPH 345
     United States of America,
15
                           Plaintiff-Intervenor,
16
      vs.
17
     Paul Penzone, in his official capacity as
18   Sheriff of Maricopa County, Arizona, et
19   al.,

20                         Defendants.

21          Pursuant to Paragraph 345 of the Court’s Amended Third Supplemental Permanent
22   Injunction/Judgment Order (Doc. 2830) (the “Third Order”), Defendant Penzone provides
23   notice to the Court and Monitor that the balance in the Professional Standards Bureau
24   (“PSB”) Staffing Fund as of April 2023 is $0.00, as reflected in the Monthly Document
25   Request Response submitted to the Monitor and parties, attached hereto as Exhibit A.
26   ///
27   ///
28   ///
     Case 2:07-cv-02513-GMS Document 2886 Filed 05/23/23 Page 2 of 2



 1        Dated this 23rdth day of May, 2023.
 2                                       OSBORN MALEDON, P.A.
 3
 4                                       By s/ Joshua J. Messer
                                            Mary R. O’Grady
 5                                          Kristin L. Windtberg
                                            Joshua J. Messer
 6                                          2929 North Central, Suite 2100
                                            Phoenix, Arizona 85012-2793
 7
                                         Attorneys for Defendant Paul Penzone
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